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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                              :              CHAPTER 7
                                                    :
YOO JIN KIM,                                        :              CASE NO. 18-68287-JWC
                                                    :
         Debtor.                            :
                                                    :
                                                    :
S. GREGORY HAYS,                                    :
Chapter 7 Trustee for the Estate of                 :
Yoo Jin Kim,                                        :
                                                    :
         Plaintiff,                                 :
                                                    :
v.                                                  :      ADV. PRO. NO. 20-06193-JWC
KEVIN DONG IL CHANG, and                            :
GEUM HEE KIM,                                       :
                                                    :
         Defendants.                                :
                                                    :


                         NOTICE OF SUBPOENA DUCES TECUM

         COMES NOW S. Gregory Hays, as Chapter 7 Trustee and plaintiff in this adversary

proceeding, and gives notice in accordance with Fed. R. Civ. P. 45(a)(4), as made applicable by

Fed. R. Bankr. P. 9016, of the subpoena to be served on The Zdrilich Law Group, LLC, a copy

of which is attached hereto and incorporated herein by reference as Exhibit “A.”

                   DEPONENT:               The Zdrilich Law Group, LLC
                   DATE:                   January 29, 2021
                   TIME:                   10:00 a.m.
                   LOCATION:               ARNALL GOLDEN GREGORY LLP
                                           171 17th Street, NW, Suite 2100
                                           Atlanta, GA 30363-1031




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Dated: December 22, 2020

                                            Respectfully submitted,

                                            By: /s/ Michael J. Bargar
                                            Michael J. Bargar
                                            Georgia Bar No. 645709
                                            ARNALL GOLDEN GREGORY LLP
                                            171 17th Street, NW, Suite 2100
                                            Atlanta, GA 30363-1031
                                            michael.bargar@agg.com
                                            Phone: 404-873-7030
                                            Fax: 404-873-7031

                                            Attorney for Chapter 7 Trustee




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                            EXHIBIT “A” FOLLOWS




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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                               :              CHAPTER 7
                                                     :
YOO JIN KIM,                                         :              CASE NO. 18-68287-JWC
                                                     :
         Debtor.                                     :
                                                     :
                                                     :
S. GREGORY HAYS,                                     :
Chapter 7 Trustee for the Estate of                  :
Yoo Jin Kim,                                         :
                                                     :
         Plaintiff,                                  :
                                                     :
v.                                                   :      ADV. PRO. NO. 20-06193-JWC
KEVIN DONG IL CHANG, and                             :
GEUM HEE KIM,                                        :
                                                     :
         Defendants.                                 :
                                                     :

                      SUBPOENA TO THE ZDRILICH LAW GROUP, LLC
                         FOR THE PRODUCTION OF DOCUMENTS

TO:      The Zdrilich Law Group, LLC
         c/o Joseph Anthony Zdrilich
         3575 Kroger Blvd.
         Suite 125
         Duluth, GA 30096


YOU ARE COMMANDED to produce and permit inspection and copying of the following
documents, identified on Exhibit "A" attached hereto, at the place, date, and time specified below:

Place                                                                               Date and time

ARNALL GOLDEN GREGORY LLP                                                         January 29, 2021
171 17th Street, NW, Suite 2100                                                       10:00 a.m.
Atlanta, GA 30363-1031




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ARNALL GOLDEN GREGORY LLP
Attorneys for Trustee

By:/s/ Michael J. Bargar
Michael J. Bargar
Georgia Bar No. 645709
ARNALL GOLDEN GREGORY LLP
171 17th Street, NW, Suite 2100
Atlanta, GA 30363
michael.bargar@agg.com; 404-873-7030




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Rule 45, Federal Rules of Civil Procedure,                                       (i) disclosing a trade secret or other confidential research,
                                                                                 development, or commercial information; or
Subsections (c), (d) and (e):                                                    (ii) disclosing an unretained expert’s opinion or
                                                                                 information that does not describe specific occurrences in
                                                                                 dispute and results from the expert’s study that was not
(c) Place of Compliance.
                                                                                 requested by a party.
   (1) For a Trial, Hearing, or Deposition. A subpoena may
                                                                              (C) Specifying Conditions as an Alternative. In the
   command a person to attend a trial, hearing, or deposition only
                                                                              circumstances described in Rule 45(d)(3)(B), the court may,
   as follows:
                                                                              instead of quashing or modifying a subpoena, order
      (A) within 100 miles of where the person resides, is
                                                                              appearance or production under specified conditions if the
      employed, or regularly transacts business in person; or
                                                                              serving party:
      (B) within the state where the person resides, is employed, or
                                                                                 (i) shows a substantial need for the testimony or material
      regularly transacts business in person, if the person
                                                                                 that cannot be otherwise met without undue hardship; and
          (i) is a party of a party’s officer; or
                                                                                 (ii) ensures that the subpoenaed person will be reasonably
          (ii) is commanded to attend a trial and would not incur
                                                                                 compensated.
          substantial expense.
                                                                        (e) Duties in Responding to a Subpoena.
   (2) For Other Discovery. A subpoena may command:
                                                                           (1) Producing Documents or Electronically Stored
      (A) production of documents, electronically stored
                                                                           Information. These procedures apply to producing documents or
      information, or tangible things at a place within 100 miles of
                                                                           electronically stored information:
      where the person resides, is employed, or regularly transacts
                                                                              (A) Documents. A person responding to a subpoena to
      business in person; and
                                                                              produce documents must produce them as they are kept in the
      (B) inspection of premises at the premises to be inspected.
                                                                              ordinary course of business or must organize and label them
 (d) Protecting a Person Subject to a Subpoena; Enforcement.
                                                                              to correspond to the categories in the demand.
   (1) Avoiding Undue Burden or Expense; Sanctions. A party or
                                                                              (B) Form for Producing Electronically Stored Information
   attorney responsible for issuing and serving a subpoena must
                                                                              Not Specified. If a subpoena does not specify a form for
   take reasonable steps to avoid imposing undue burden or
                                                                              producing electronically stored information, the person
   expense on a person subject to the subpoena. The court for the
                                                                              responding must produce it in a form or forms in which it is
   district where compliance is required must enforce this duty and
                                                                              ordinarily maintained or in a reasonably usable form or
   impose an appropriate sanction—which may include lost
                                                                              forms.
   earnings and reasonable attorney’s fees—on a party or attorney
                                                                              (C) Electronically Stored Information Produced in Only One
   who fails to comply.
                                                                              Form. The person responding need not produce the same
   (2) Command to Produce Materials or Permit Inspection.
                                                                              electronically stored information in more than one form.
      (A) Appearance Not Required. A person commanded to
                                                                              (D) Inaccessible Electronically Stored Information. The
      produce documents, electronically stored information, or
                                                                              person responding need not provide discovery of
      tangible things, or to permit the inspection of premises, need
                                                                              electronically stored information from sources that the person
      not appear in person at the place of production or inspection
                                                                              identifies as not reasonably accessible because of undue
      unless also commanded to appear for a deposition, hearing,
                                                                              burden or cost. On motion to compel discovery or for a
      or trial.
                                                                              protective order, the person responding must show that the
      (B) Objections. A person commanded to produce documents
                                                                              information is not reasonably accessible because of undue
      or tangible things or to permit inspection may serve on the
                                                                              burden or cost. If that showing is made, the court may
      party or attorney designated in the subpoena a written
                                                                              nonetheless order discovery from such sources if the
      objection to inspecting, copying, testing or sampling any or
                                                                              requesting party shows good cause, considering the
      all of the materials or to inspecting the premises—or to
                                                                              limitations of Rule 26(b)(2)(C). The court may specify
      producing electronically stored information in the form or
                                                                              conditions for the discovery.
      forms requested. The objection must be served before the
                                                                           (2) Claiming Privilege or Protection.
      earlier of the time specified for compliance or 14 days after
                                                                              (A) Information Withheld. A person withholding subpoenaed
      the subpoena is served. If an objection is made, the following
                                                                              information under a claim that it is privileged or subject to
      rules apply:
                                                                              protection as trial-preparation material must:
          (i) At any time, on notice to the commanded person, the
                                                                                 (i) expressly make the claim; and
          serving party may move the court for the district where
                                                                                 (ii) describe the nature of the withheld documents,
          compliance is required for an order compelling production
                                                                                 communications, or tangible things in a manner that,
          or inspection.
                                                                                 without revealing information itself privileged or
          (ii) These acts may be required only as directed in the
                                                                                 protected, will enable the parties to assess the claim.
          order, and the order must protect a person who is neither a
                                                                              (B) Information Produced. If information produced in
          party nor a party’s officer from significant expense
                                                                              response to a subpoena is subject to a claim of privilege or of
          resulting from compliance.
                                                                              protection as trial-preparation material, the person making
   (3) Quashing or Modifying a Subpoena.
                                                                              the claim may notify any party that received the information
      (A) When Required. On timely motion, the court for the
                                                                              of the claim and the basis for it. After being notified, a party
      district where compliance is required must quash or modify a
                                                                              must promptly return, sequester, or destroy the specified
      subpoena that:
                                                                              information and any copies it has; must not use or disclose
          (i) fails to allow a reasonable time to comply;
                                                                              the information until the claim is resolved; must take
          (ii) requires a person to comply beyond the geographical
                                                                              reasonable steps to retrieve the information if the party
          limits specified in Rule 45(c);
                                                                              disclosed it before being notified; and may promptly present
          (iii) requires disclosure of privileged or other protected
                                                                              the information under seal to the court for the district where
          matter, if no exception or waiver applies; or
                                                                              compliance is required for a determination of the claim. The
          (iv) subjects a person to undue burden.
                                                                              person who produced the information must preserve the
      (B) When Permitted. To protect a person subject to or
                                                                              information until the claim is resolved.
      affected by a subpoena, the court for the district where
      compliance is required may, on motion, quash or modify the
      subpoena if it requires:




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                                          EXHIBIT “A”

                                            Definitions

A.      The term “document” is intended to have the broadest permissible meaning under the
Federal Rules of Civil Procedure and shall mean any written, printed, recorded, taped,
electromagnetically recorded or encoded, electronically stored, graphic or other matter of every
type and description that is or has been in the possession, custody, or control of you or any of your
agents and attorneys, or of which you have knowledge, and shall include without limitation, the
following: letters, correspondence, affidavits, declarations, statements, books, articles, reprints,
resolutions, minutes, communications, messages, e-mails, electronic communications,
electronically stored information, notes, loan documents, collateral documents, stenographic or
handwritten notes, memoranda, diaries, contracts, subcontracts, bids, worksheets, drafts,
agreements, records, resumes, invoices, receipts, bills, cancelled checks, financial statements,
audit reports, tax returns, calendars, schedules, summaries, studies, calculations, estimates,
diagrams, sketches, drawings, plans, photographs, tapes, videotapes, movies, recordings,
transcriptions, work orders, computer print-outs, computer disks, data processing cards, data
storage cards, and the like; and where originals of such documents are not available or are not in
your possession, custody or control, every copy of every such document; and every copy of every
such document where such copy is not an identical copy of the original or where such copy
contains any commentary or notation whatsoever which does not appear on the original.

B.     The term “Property” refers to that certain real property with a common address of 2876
Red Pine Ct. Duluth, Gwinnett County, Georgia 30096.

C.      The term “Transfers” refers to (1) the conveyance of an interest in that certain real
property with a common address of 2876 Red Pine Ct. Duluth, Gwinnett County, Georgia 30096
from Shelby Jean Garner to Yoo Jin Kim via a limited warranty deed dated January 22, 2016 and
recorded on the real property records of Gwinnett County on February 23, 2016 at Deed Book
54114, beginning at Page 867; and (2) the conveyance of an interest in that certain real property
with a common address of 2876 Red Pine Ct. Duluth, Gwinnett County, Georgia 30096 from Yoo
Jin Kim to Kevin Dong Il Chang via a limited warranty deed dated October 19, 2019 and recorded
on the real property records of Gwinnett County on October 27, 2017 at Deed Book 55489,
beginning at Page 89.




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                                       Document Requests


Please produce the following:

1)      Copies of all documents related to the Transfers, including any loan applications related
to the Transfers.

2)     Copies of all documents related to the Property, including, but not limited to, the closing
packets for the Transfers.




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                                    CERTIFICATE OF SERVICE
          I hereby certify that I have this day served the following parties with a true and correct

copy of the foregoing by first class United States Mail to the following entities at the addresses

stated:

Office of the United States Trustee
362 Richard B. Russell Building
75 Ted Turner Drive, SW
Atlanta, GA 30303

Yoo Jin Kim
1780 Graves Road Apt 1407
Norcross, GA 30093

S. Gregory Hays
Hays Financial Consulting, LLC
Suite 555
2964 Peachtree Road
Atlanta, GA 30305

The Zdrilich Law Group, LLC
c/o Joseph Anthony Zdrilich
3575 Kroger Blvd.
Suite 125
Duluth, GA 30096

Charles M. Clapp
Law Offices of Charles Clapp, LLC
5 Concourse Parkway NE
Suite 3000
Atlanta, GA 30328
          This 22nd day of December, 2020.


                                                By: /s/ Michael J. Bargar___________
                                                   Michael J. Bargar
                                                   Georgia Bar No. 645709




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